                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 ST. JOSEPH DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
            v.                                  )      No. 15-06004-15-CR-SJ-DGK
                                                )
JACKIE R. LOVE, JR.,                            )
                                                )
       Defendant.                               )

                          ACCEPTANCE OF PLEA OF GUILTY
                           AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge Robert E.

Larsen, to which no objection has been filed, the plea of guilty is now accepted. Defendant is

adjudged guilty of such offense.   Sentencing will be set by subsequent order of the Court.



                                                       /s/ Greg Kays
                                                       GREG KAYS, CHIEF JUDGE
                                                       UNITED STATES DISTRICT COURT

Dated: August 2, 2017




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